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                                                                                BB8tern DiBtriot of Kentucky
                             UNITED STATES DISTRICT COURT                             FILED
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION                                 MAY 1 1 2016
                                        LONDON                                        AT FRANKFOR7
                                                                                eLE ROBERT R. CARR
                                                                                   RK U,S, DISTRICT COURT
 UNITED STATES OF AMERICA,                          )
                                                    )
         Plaintiff,                                 )            Criminal No. 10-1 O-GFVT
                                                    )
 v.                                                 )
                                                    )
 BRANDEN RAY SUTTON,                                )                     ORDER
                                                    )
         Defendant.                                 )



                                        *** *** *** ***
        Before the Court is Magistrate Judge Hanly A. Ingram's Recommended Disposition. (R.

347.J The Defendant in this case, Branden Ray Sutton, is charged with a second violation of his

supervised release conditions. On February 12,2016, Sutton failed a urine drug test. (Id. at 2.J

His violation report charges him with violating his release conditions by (1) possessing a

controlled substance and (2) committing another federal crime. [Id.] At his final revocation

hearing on March 9, Judge Ingram found that Davis had competently entered a knowing,

voluntary, and intelligent stipulation to the charged violations. [Id. at 3.]

       In his Recommended Disposition, Judge Ingram appropriately considered the 18 U.S.C. §

3553 factors in determining the recommended sentence. He noted that "[t]he nature and

circumstances of Defendant's underlying conviction [for drug trafficking] are very serious," and

Sutton's resumed abuse of oxycodone "represents a considerable threat to public safety." [Id. at

5.J He also noted that Sutton's "history and characteristics indicate a very serious drug
problem," and this problem "is the cause of his repeated criminal actions." [Id. at 6.] Despite
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being given a "significant downward departure" at sentencing, Sutton breached the Court's trust

by repeatedly violating the conditions of his release. [Id.] For this reason, Judge Ingram felt that

"a sentence at the top of the Guidelines Range is warranted." [ld at 7.] He added, however, that

he could "fathom no conditions, other than inpatient treatment which has not worked, that would

significantly reduce the risk of continued drug abuse so as to either benefit the public or

Defendant." [Jd. at 7.] He thus concluded that "a term of supervised release would be a waste of

government resources and would not measurably protect the public." [Id.]

       Generally, this Court must undertake a de novo review of those portions of a magistrate's

recommended disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to "review ... a magistrate's

factual or legal conclusions, under a de novo or any other standard." See Thomas v. Am, 474

U.S. 140,151 (1985). Parties who fail to object to a magistrate judge's reportand

recommendation are also barred from appealing a district court's order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has carefully examined the record and agrees with Judge Ingram's recommended

disposition.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

        1.     The Recommended Disposition [R. 347] as to Defendant Branden Ray Sutton is

ADOPTED as and for the Opinion of the Court;

       2.      Sutton is found to have violated the terms of his Supervised Release as set forth in

the Report filed by the U.S. Probation Officer and the Recommended Disposition of the

Magistrate Judge;



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       3.      Sutton's Supervised Release is REVOKED;

       4.      Sutton is SENTENCED to a tenn of incarceration of] 4 months with no tenn of

supervised release to follow; and

       5.      Judgment shall be entered promptly.

               ~
       This ~ day of May, 2016.
